          Case 2:95-cr-00235-WBS Document 323 Filed 01/30/12 Page 1 of 3


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 4   Telephone: (916) 554-2700
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. 2:95-CR-0235 EJG
                                           )
12                      Plaintiff,         )   STIPULATION AND ORDER TO RESET
                                           )   BRIEFING SCHEDULE AND HEARING
13   v.                                    )
                                           )
14   PABLO CASTRO MARRON,                  )
                                           )
15                      Defendant.         )
                                           )
16                                         )
17
18        The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and William S. Wong, Assistant United States Attorney,
21   and defendant PABLO CASTRO MARRON, through his counsel, Clemente
22   Jimenez, Esq., stipulate and agree to the following revised briefing
23   schedule and hearing regarding the defendant’s motion to dismiss
24   indictment currently set for February 10, 2012, at 10:00 a.m.:
25        1.   Government’s response shall be filed no later than February
26             10, 2012;
27        2.   Defendant’s reply, if any, shall be filed no later than
28             February 17, 2012; and

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          Case 2:95-cr-00235-WBS Document 323 Filed 01/30/12 Page 2 of 3


 1        3.   A non-evidentiary hearing on the motion to be set for
 2             February 24, 2012, at 10:00 a.m.
 3        Counsel for the government became ill around the first of
 4   January and had a nagging cough for approximately 3 ½ weeks causing
 5   counsel to miss work on sick leave for an extended period of time.
 6        Time is needed for the government to conduct further legal
 7   research and write its opposition to the defendant’s motion to
 8   suppress evidence.    Defense counsel then needs additional time to
 9   respond to the government’s opposition.       Additionally, the parties
10   are attempting to resolve sentencing guideline issues and are working
11   towards resolution of the case.      Accordingly, the parties stipulate
12   to the revised law and motion schedule and request that time be
13   excluded pursuant to Local Code E and T-4.
14
15                                          Respectfully submitted,
16   DATED: January 27, 2012                BENJAMIN B. WAGNER
                                            United States Attorney
17
18
                                      By:    /s/ William S. Wong
19                                          WILLIAM S. WONG
                                            Assistant U.S. Attorney
20
21   DATED: January 27, 2012          By:    /s/ Clemente Jimenez
                                            CLEMENTE JIMENEZ
22                                          Attorney for Defendant
23
          For the reasons set forth above, the revised law and motion
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     schedule is adopted.    Since the defendant has filed his motion to
25
     dismiss the indictment, time will continue to be excluded because of
26
     the pending motion pursuant to Local Code E and 18 U.S.C. §
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     3161(h)(1)(D), and Local Code T-4 from the filing of the motion to
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          Case 2:95-cr-00235-WBS Document 323 Filed 01/30/12 Page 3 of 3


 1   February 24, 2012.    The court finds that the ends of justice served
 2   by the granting of such continuance outweigh the best interests of
 3   the public and the defendant in a speedy trial.
 4
     DATED: January 27, 2012
 5                                    /s/ Edward J. Garcia
                                      HONORABLE EDWARD J. GARCIA
 6                                    UNITED STATES DISTRICT COURT JUDGE
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